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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,
Plaintiff                                                                 APR   14 2016
V.                                                                   EsTebISTR,cT


DEKA ABDALLA SHEIKH,
Defendant

Case No. SA-1 1-CR-425(1)FB
USM NUMBER 074 16-090

        MOTION TO TERMINATE SUPERVISED RELEASE AFTER
           COMPLETION OF ONE-YEAR OF SUPERVISION
             PURSUANT TO TITLE 18 U.S.C. 3583(e)(1)


NOW COMES, DEKA ABDALLA SHEIKH appearing pro Se, and files this
Motion to Terminate Supervised Release, pursuant to 18 U.S.C. § 3583(e)(1).

                                 INTRODUCTION

On July 25, 2013, defendant Ms. Deka Abdalla Sheikh was sentenced to supervised
probation for a term of 5 years for her conviction for violating of 18 U.S.C. Section 371
& 1001, Conspiracy to make false statements to executive branch in tenorism
investigation. Ms. Deka Abdalla Sheikh has successfttlly completed over thirty months of
her supervised release period, which would normally expire on July 24, 2018. Based on
her successful performance on supervised release, Ms. Deka Abdalla Sheikh hereby
moves the Court for entry of an order terminating her supervised release. The U.S.
Probation Officer is in support of this request.

                                    ARGUMENT

Under 18 U.S.C. Section 3583(e), the Court has the authority to grant early
termination of a previously imposed term of supervised release. Section
3583(e)(1) provides:
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(e) Modification of conditions or revocation. The court may, after considering the
factors set forth in Section 3553(a)(l), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5),
(a)(6), and (a)(7)

       (1) terminate a term of supervised release and discharge the defendant
       released at any time after the expiration of one year of supervised release,
       pursuant to the provisions of the Federal Rules of Criminal Procedure
       relating to the modification of probation, if it is satisfied that such action is
       warranted by the conduct of the defendant released and the interest of
       justice.

18 U.S.C. §  3583(e)(l); see also Fed. R. Crim. Procedure 32.l(c)(l), (2)(B) & (C)
(providing for hearings for modifications of supervised release, unless the result is
favorable to the person supervised and the government does not object after
notice).

The district court enjoys "broad discretion" when, after "tak[ing] into account a
variety of considerations, including the nature of the offense and the history of the
offender, as well as any implications for public safety and deterrence," it
discharges a defendant's supervised release. See United States v. Jeanes, 150 F.3d
483, 484 (5th Cir. 1998). "These [factors] are largely the same considerations the
court must assess when imposing the original sentence." Id.

Title 18 U.S.C. § 3583(e)(1) states that: "The court may, after considering the
factors set forth in section (a)(1), (a)(2)(B), (a) (2)(C), (a)(4), (a)(5), and (a)(6),
terminate a term of supervised release and discharge the person released at any
time after the expiration of one year of supervised release ... if it is satisfied that
such action is warranted by the conduct of the person released and the interest of
justice."

"Claims of injustice or unfairness may be properly evaluated-- as one factor among
many-- under the broad and general directive of § 3583(e)(l)." Jeanes at 484-485.
However, the court must be "satisfied that such action is warranted by the conduct
of the defendant and in the interest ofjustice." Id.

As the Supreme Court has noted:
[ 3583(e)(1)] is the unequivocal provision for ending the term of supervised
release without the possibility of its reimposition or continuation at a later time.
Congress wrote that when a court finds that a defendant's conduct and the interest
of justice warrant it, the court may "terminate a term of supervised release and
discharge the person released," once at least a year of release time has been served.
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Johnson v. United States, 529 U.S. 694, 120 S. Ct. 370, 146 L.Ed.2d 727, 738
(2000)
                                 DISCUSSION

Ms. Deka Abdalla Sheikh's term of supervised release is for a five-year term, which
commenced July 25, 2013 and terminates July 24, 2018. She has completed over
thirty months of this term. She respectfully asks this court to terminate her
supervised release term for her "conduct" while on supervised release and in the
"interest of justice."
                                           I.
Ms. Deka Abdalla Sheikh promptly paid in full her restitution and special
assessment levied at the time of sentencing. She has shown exemplary
postconviction adjustment and conduct in her supervision responsibilities. She has
fully complied with the court's express terms of supervision, fully obeying the
law, and diligently complying with the requirements of the Probation Department.
Ms. Deka Abdalla Sheikh has lived a productive lifestyle by holding steady
employment while supporting her self.
                                          II.
When evaluating her offense conduct, criminal history, and potential for further
crimes, Ms. Deka Abdalla Sheikh believes this court can find that her further and
continued supervision is not required because she meets the criteria, as suggested
by the U.S. Administrative Office of the Courts, for early termination, which
include: "law-abiding behavior, full compliance with the conditions of
supervision, and a responsible, productive lifestyle." See Publication 109, p.37
(1993), U.S. Administrative Office of Courts. See also, Publication 109, Chapter
III, p.19-21 (2007 Revision)

Ms. Deka Abdalla Sheikh meets all   of the following suggested criteria from
Publication 109 (p.20):

1.   Stable community reintegration (e.g., residence, family, employment);

2. Progressive strides toward supervision objectives and in compliance with all
     conditions of supervision;

3. No aggravated role in the offense   of conviction, particularly large drug or fraud
     offenses;

4. No history of violence (e.g., sexually assaultive, predatory behavior, or
     domestic violence);
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5. No recent arrests or convictions (including unresolved pending charges), or
  ongoing, uninterrupted patterns of criminal conduct;

6. No recent evidence    of alcohol or drug abuse;

7. No recent psychiatric episodes;

8. No identifiable   risk to the safety of any identifiable victim; and

9. No identifiable risk to public safety based on the Risk Prediction Index (RPI).

                                         III.
On July 25, 2013, defendant Ms. Deka Abdalla Sheikh was placed on supervised
probation for a term of five years for her conviction for violating of 18 U.s.c.
Section 371 & 1001, conspiracy to make false statements to executive branch in
terrorism investigation. Ms. Deka Abdalla Sheikh has successfully completed
over thirty months of her supervised release period, which would normally expire
on July 24, 2018. U.S. Probation Officer Michael Bell currently supervises Ms.
Deka Abdalla Sheikh.

Ms. Deka Abdalla Sheikh has been performing extremely well on supervised
release: she has had no new contact with law enforcement. Moreover, she works
over 78 hours every week at her two jobs, catholic charities of Madison
Wisconsin and Rise Up as a home health caregiver. She has also been attending
Madison couriunity college to obtain her Associates Degree. Notably, Ms. Deka
Abdalla Sheikh has risen to the challenge and succeeded in being a good home
health care giver she has made great strides toward improving herself and making
a better life for herself. Ms. Deka Abdalla Sheikh paid her special assessment and
restitution in full, and has been in compliance with all her terms and conditions of
supervision.

As Ms. Deka Abdalla Sheikh has indicated, she is fortunate to have the
opportunity that she has been given. She recognizes the value of hard work, and is
proud to be pursuing her associate's degree. She is mindful that with her current
status on supervised probation, she is unable to obtain admission into her desired
course of study in the medical field. Termination of her supervised probation will
afford her the opportunity to commence her studies to be an Ultra Sound
(Radiology & Sonography Technician), begin her naturalization processing and
afford her complete healing from the stigma associated with her case and
conviction.
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Ms. Deka Abdalla Sheikh's exemplary performance on supervise release warrants
a reduction in her term of supervised release. Accordingly, she respectfully moves
this Court under Section 3583 (e)( 1) of Title 18 for early termination of her term of
supervised release.
                                   CONCLUSION

Ms. Deka Abdalla Sheikh has done very well on supervised release, has sustained
no new arrests, has stable employment, has paid off her restitution in full, and has
completed over thirty months of her five-year supervision without incident. The
Probation Office supports the early termination of her supervised release. For the
foregoing reasons, Ms. Deka Abdalla Sheikh asks this honorable Court to
terminate the remainder term of supervised release forthwith.

DATED: April 7, 2016

Respectfully Submitted,
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     Abdalla Sheikh, Pro Se 3160
Ridgeway Ave.                                                           #'l,
                                                                               OF:
Apt#   109
Madison WI 53704                                                             Le           .




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                           CERTIFICATE OF SERVICE


I, Deka Abdalla Sheikh, hereby certify that a true and correct copy of the foregoing
Motion to Terminate Supervised Release was served, via first class mail and I or email, to
the following parties on this 7th day of April 2016.

Michael Bell
U.S. Probation Officer
Michael_Bellwiwp.uscourts.gov

Mark Roomberg
United States Attorney's Office
601 NW Loop 410,
Suite 600
San Antonio, Texas 78216
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